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 6
     Counsel for Plaintiffs Amanda Sue Sellers,
 7
     Nadine Quate Francis, Thomas Benton Harang, Jr.,
 8   and Ian Michael Scott in Case No. 8:22-cv-02065-JVS-(KESx)
 9
                        UNITED STATES DISTRICT COURT
10                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
     IN RE: KIA HYUNDAI VEHICLE                  Case No. 8:22-ml-03052-JVS-(KESx)
12   THEFT MARKETING, SALES
     PRACTICES, AND PRODUCTS                     APPLICATION OF AMANDA K.
13                                               KLEVORN FOR APPOINTMENT TO
     LIABILITY LITIGATION
14                                               THE PLAINTIFFS’ EXECUTIVE
     (This Document Relates to All Cases)        COMMITTEE AND/OR THE FACT
15                                               OR EXPERT SUBCOMMITTEE
16
                                                 Date: February 7, 2023
17                                               Time: 9:00 a.m.
18                                               Place: 411 W. Fourth Street
                                                        Santa Ana, CA 92701
19
                                                        Court Room 10C
20
21
22
23        I, Amanda K. Klevorn, counsel for Plaintiffs Amanda Sue Sellers, Nadine Quate
24   Francis, Thomas Benton Harang, Jr., and Ian Michael Scott, respectfully submit this
25
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27                                           1
28          APPLICATION OF AMANDA K. KLEVORN FOR APPOINTMENT TO THE
           PLAINTIFFS’ EXECUTIVE COMMITTEE AND/OR THE FACT OR EXPERT
                                  SUBCOMMITTEE
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 1   application for appointment to the Plaintiffs’ Executive Committee and/or the Fact or
 2   Expert Subcommittee.
 3   I.     I will make a strong edition to the Plaintiffs’ leadership group as a member of
 4          the Executive Committee and/or the Fact or Expert Subcommittee because of
            the wide-ranging complex litigation experience I have amassed early in my
 5          career, and my ability and willingness to commit sufficient time to the case.
 6          I would be honored to serve on the Plaintiff’s Executive Committee, the Fact
 7   Subcommittee, the Expert Subcommittee, or any combination of the three as the Court
 8   sees fit. I have represented plaintiffs in complex litigation since I was admitted to the
 9   Louisiana bar in 2013. Over the last nine years, I have amassed significant experience in
10   nationwide class actions and multi-district litigation in a variety of practice areas,
11   including antitrust, products liability, and data privacy. As a woman in her 30s practicing
12   in the South, I can also bring a unique perspective to the leadership group and enhance its
13   diversity. I am happy to serve in whatever role will best enable me to make a positive
14   contribution to the case.
15        A. The Plaintiffs’ Executive Committee.
16          The leadership structure proposed by interim lead counsel in the Preliminary Report
17   envisions the creation of a four-member Executive Committee, with each member
18   representing the interests of plaintiffs with different factual circumstances.1 I currently
19   represent a total of four plaintiffs, who collectively cover two of the four categories. Two
20   of my clients’ vehicles were insured when their cars were stolen. In fact, plaintiff Ian
21   Michael Scott’s car was stolen twice in a three-month period. I also represent two other
22
23
24
25   1
       Joint Preliminary Report at pp. 1-2: (i) a lawyer that has fleet owners as clients, (ii) a
26   lawyer that has clients with stolen cars and who were insured, (iii) a lawyer that has clients
     with stolen cars and who did not have insurance, (iv) a lawyer with clients whose cars
27   were not stolen.
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28                                         2
           APPLICATION OF AMANDA K. KLEVORN FOR APPOINTMENT TO THE PLAINTIFFS’
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 1   clients whose vehicles were not stolen, but who incurred damages as a result of their
 2   vehicles’ defects, including higher insurance rates and out of pocket expenses for anti-
 3   theft devices like steering column locks. I am therefore well positioned to represent the
 4   interests of either group of plaintiffs on the Executive Committee in this case.
 5         Interim lead counsel have proposed that members of the Executive Committee may
 6   potentially also be appointed to either the Fact Subcommittee or Expert Subcommittee. If
 7   so, I respectfully request consideration to serve on one of the subcommittees as well. I
 8   have substantial experience working on both fact and expert discovery in a variety of
 9   settings and practice areas, including antitrust and data privacy class actions, mass torts, a
10   major reverse condemnation case against the U.S. government, and the ongoing, massive
11   nationwide opioids litigation.
12      B. Fact Subcommittee.
13         My experience with fact discovery since I started practicing in 2013 has covered a
14   lot of ground, and includes everything from taking the corporate depositions of major U.S.
15   banks in wrongful foreclosure cases in Mississippi, to defending Louisiana homeowner
16   depositions in environmental contamination cases against oil companies, to taking
17   extremis depositions in mass tort cases, to handling written discovery and fact sheets for
18   thousands of mass tort plaintiffs in federal and state consolidated proceedings around the
19   country. However, I would like to highlight some of my more recent and notable work in
20   the realm of fact discovery, as follows:
21      • Opioids Litigation (17th JDC, Broward County, Florida).
22         I am currently leading defensive fact discovery on behalf of over 40 hospitals in
23   Florida against the manufacturers, distributors, and retailers of opioids in Florida Health
24   Sciences Center, Inc. et al. v. Richard Sackler, et al. (CACE 19-018882). My work has
25   included all aspects of written discovery (fact sheets, initial disclosures, responding to
26   Interrogatories and Requests for Production), document production, ESI discovery
27   (including negotiating ESI search terms), client communication and management, leading
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         APPLICATION OF AMANDA K. KLEVORN FOR APPOINTMENT TO THE PLAINTIFFS’
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 1   meet and confers, motion to compel practice, and arguing at each monthly hearing. In
 2   short, I have been responsible for running all aspects of defensive discovery over a 6-
 3   month period (the Case Management Order was entered on July 28, 2022 and the
 4   substantial completion deadline for fact discovery is currently set for February 16, 2023).
 5   The experience of managing the volume of documents and data at issue on behalf of so
 6   many plaintiffs over a short period of time has made me a better and more efficient lawyer
 7   with top-notch organizational skills.
 8          While I anticipate that I will continue leading defensive fact discovery as the case
 9   progresses, the amount of time I need to devote to it will wane as we transition into expert
10   discovery this year. My work will not interfere with or hamper my ability to contribute to
11   this litigation.
12      • EpiPen Antitrust MDL (D. Kansas).
13          I gained extensive fact discovery experience with my work in the In re Epipen
14   (Epinephrine Injection, USP) Marketing, Sales Practices and Antitrust Litigation MDL
15   (Case No. 2:17-md-02785-DDC-TJJ). My law firm served as Co-Lead Counsel, and early
16   in the case I was tasked with leading the charge on privilege issues, which involved
17   reviewing the defendants’ voluminous privilege logs and raising challenges as needed. As
18   a result of my efforts, which included several rounds of motion practice and oral argument,
19   one of the defendants ultimately withdrew its privilege assertions on several thousand
20   previously withheld documents. While reviewing privilege logs is not the most glamorous
21   work, I appreciate its importance and I know how to review and raise privilege log issues
22   with courts in a streamlined and efficient manner.
23          Later in the case, I was involved in several additional aspects of fact discovery. I
24   took key depositions of the defendants’ employees and attorneys related to the plaintiffs’
25   antitrust pay for delay allegations. I was also a member of the trial team, where I was
26   responsible for deposition designations and ensuing negotiations, mock trial preparation,
27
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28                                         4
          APPLICATION OF AMANDA K. KLEVORN FOR APPOINTMENT TO THE PLAINTIFFS’
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 1   and preparing witness direct and cross examinations. The case ultimately settled shortly
 2   before trial.
 3      • Harvey Upstream (Fed. Cl.).
 4          I have trial experience, including experience preparing and examining fact
 5   witnesses at trial. In In re Upstream Addicks and Barker (Texas) Flood Control Reservoirs
 6   (Sub-Master Docket No. 17-9001L), I prepared and directed the test property plaintiffs at
 7   the just compensation trial. The role required a great deal of organization and attention to
 8   detail as I had to track and introduce into evidence voluminous records and receipts
 9   substantiating the losses sustained by the plaintiffs during Hurricane Harvey, including
10   personal property, repair costs, and other damages.
11      C. Expert Subcommittee.
12          I also have a wide variety of expert discovery experience and would be well-suited
13   for a role on the Expert Subcommittee. I defended plaintiffs’ antitrust experts’ depositions
14   in EpiPen, directed plaintiffs’ economics expert regarding interest rates at the Harvey just
15   compensation trial, worked with plaintiffs’ environmental experts in various oil
16   contamination cases, and contributed to various aspects of expert work in several
17   nationwide mass tort cases. My more recent and notable work on expert discovery matters
18   include the following:
19      • Blue Cross Blue Shield Antitrust MDL (N.D. Alabama).
20          My law firm was appointed Settlement Counsel on behalf of the Administrative
21   Services (or Self-Funded) Subclass in the antitrust case In re Blue Cross Blue Shield
22   Antitrust (Case No. 2:13-cv-20000-RDP). The Subclass retained its own experts to assess
23   the appropriate settlement allocation between the Fully-Insured subscribers and the Self-
24   Funded Subclass. I was involved in all aspects of expert work on behalf of the Subclass,
25   including working with the Subclass’s experts as they performed their analysis and
26   prepared their report, gathering and reviewing the materials and data that were necessary
27   for the experts’ analysis, preparing the Subclass’s experts to testify at the final fairness
     ____________________________________________________________________________
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         APPLICATION OF AMANDA K. KLEVORN FOR APPOINTMENT TO THE PLAINTIFFS’
            EXECUTIVE COMMITTEE AND/OR THE FACT OR EXPERT SUBCOMMITTEE
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 1   hearing, helping to prepare cross examinations for certain objectors’ experts, and attending
 2   the final fairness hearing. The court granted final approval for the $2.67 billion settlement
 3   in 2022, making it one of the largest antitrust settlements in history.2
 4       • Talc MDL (D. New Jersey).
 5             My law firm serves on the Executive Committee for the In re: Johnson & Johnson
 6   Talcum Powder Products Marketing, Sales Practices, and Products Liability Litigation
 7   (Case No. 3:16-md-02738-FLW-LHG). The court ordered the parties to focus exclusively
 8   on expert discovery in the first phase of the litigation, and I was closely involved in all
 9   aspects of building the plaintiffs’ expert work leading up to the Daubert hearing. I helped
10   vet potential experts, helped prepare for and attended several experts’ depositions, assisted
11   with drafting plaintiffs’ Daubert opening, opposition, and reply briefs, and helped Lead
12   Counsel and the experts prepare for the Daubert hearing. More specifically, I was the lead
13   brief writer on two Daubert briefs, both pertaining to the presence of human carcinogens
14   in talc cosmetic products. The court ultimately ruled that the plaintiffs had met their
15   burden on Daubert and scheduled bellwether trials.3
16       II.      My qualification to serve in a leadership capacity in this case is confirmed
                  by the awards and other leadership appointments I have received early in
17
                  my career.
18
19             I have been extraordinarily fortunate early in my career to have worked on

20   numerous complex cases all over the country and in a variety of practice areas. This has

21   given me the opportunity to observe, work with, and learn from some of the best plaintiff

22   and defense attorneys in the country. That experience positioned me to qualify for and

23   receive several leadership appointments and awards in the last few years. I have been

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25
     2
26    Certain objectors’ appeals are currently pending.
     3
      The Talc MDL litigation is currently stayed because of the Johnson & Johnson subsidiary
27   LTL Management’s bankruptcy filing.
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          APPLICATION OF AMANDA K. KLEVORN FOR APPOINTMENT TO THE PLAINTIFFS’
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 1   selected as a Lawdragon 500 Leading Plaintiff Consumer Lawyer and Leading Plaintiff
 2   Financial Lawyer for the last two years. I have been named a Louisiana Super Lawyer
 3   Rising Star every year since 2019 and a Best Lawyers in America “One to Watch” every
 4   year since 2021. And last year, I and two of my partners at Burns Charest, received the
 5   2022 Outstanding Antitrust Litigation Achievement in Private Law Practice for our work
 6   in the EpiPen antitrust litigation.
 7         In 2020, I was appointed to the Plaintiff Steering Committee in In re TikTok, Inc.
 8   Consumer Privacy Litigation MDL (N.D. Ill.), where I served on behalf of individuals
 9   alleging that the creators of the TikTok app violated their rights under Illinois’ Biometric
10   Information Privacy Act and other federal and state consumer privacy and protection
11   laws.4 The court granted final approval of the settlement in late 2022 and the sole appeal
12   was dismissed, so this case will not require any of my time moving forward.
13         I also currently serve on the Plaintiffs’ Steering Committee in In re Gilead
14   Tenofovir Cases JCCP (Cal.), a consolidated state court mass tort litigation brought on
15   behalf of tens of thousands of plaintiffs alleging defendant Gilead Sciences, Inc.’s
16   tenofovir-based drugs caused them to develop kidney and/or bone disease. Fact and expert
17   discovery is complete and the first bellwether trial should begin sometime this year.5 I am
18   not currently slated to participate in any bellwether trials, so my time commitment to this
19   case should be minimal moving forward.
20
21
22
     4
23     Before the TikTok litigation was consolidated in the U.S. District Court for the Northern
     District of Illinois, I was also appointed by the Hon. Lucy Koh to the Plaintiffs’ Executive
24
     Committee in the consolidated TikTok proceedings in the U.S. District Court for the
25   Northern District of California.
     5
26     The first slated bellwether trial is currently on hold while the defendant’s request for
     interlocutory review of the trial court’s denial of its motion for summary judgment is
27   pending.
     ____________________________________________________________________________
28                                         7
         APPLICATION OF AMANDA K. KLEVORN FOR APPOINTMENT TO THE PLAINTIFFS’
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 1         More information about my relevant experience is included in my resume, attached
 2   as Exhibit 1.
 3      III.   I will have the full support of my colleagues at Burns Charest who have an
 4             established history of working cooperatively with others, and my firm can
               contribute significant time and resources to the case.
 5
           Burns Charest LLP has quickly gained a reputation as a leading complex litigation
 6
     boutique in the country. Founded in 2015 by two former Susman Godfrey LLP partners,
 7
     Burns Charest has since been selected to lead several cases of national importance and
 8
     scope since its start. We currently employ 27 attorneys, as well as support staff, with
 9
     offices in Dallas, New Orleans, and Washington, D.C. More information about my firm’s
10
     work and accomplishments is included in the firm bio attached as Exhibit 2.
11
           As someone who was given the opportunity at Burns Charest to learn and practice
12
     the law at a very high level early in my career, I am especially proud to have helped recruit
13
     and develop a team of talented young associates over the last few years. Nearly all of our
14
     associates had federal clerkships, and they come from a diverse array of backgrounds and
15
     experiences. They, along with my highly experienced partners at Burns Charest will stand
16
     ready and willing to provide whatever support—both in terms of time and financial
17
     resources—is needed if I am appointed to a leadership position.
18
           Finally, both myself and my colleagues at Burns Charest pride ourselves on our
19
     ability to work well with co-counsel as well as defense counsel to avoid unnecessary
20
     disputes and resolve legitimate disputes as efficiently and amicably as possible. I am
21
     confident that the attorneys we have worked with both in past and current cases would
22
     speak to our professionalism and the spirit of cooperation we bring to the table.
23
        IV.    Conclusion.
24
           I would greatly appreciate the opportunity to contribute my experience, time, and
25
     resources to this important litigation, and I welcome the opportunity to serve in any
26
     capacity. Thank you for your consideration.
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         APPLICATION OF AMANDA K. KLEVORN FOR APPOINTMENT TO THE PLAINTIFFS’
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 1   Dated: January 23, 2023           Respectfully submitted,
 2
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 3
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26                                     BAER LAW, LLC
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         APPLICATION OF AMANDA K. KLEVORN FOR APPOINTMENT TO THE PLAINTIFFS’
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         APPLICATION OF AMANDA K. KLEVORN FOR APPOINTMENT TO THE PLAINTIFFS’
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  1                               CERTIFICATE OF SERVICE
  2         I, Amanda K. Klevorn, electronically submitted the foregoing document with the
  3   clerk of the court for the U.S. District Court, Central District of California, using the
  4   electronic case filing system. I hereby certify that I have provided copies to all counsel
  5   of record electronically or by another manner authorized by Fed. R. Civ. P. 5(b)(2).
  6
      Dated: January 23, 2023
  7                                          /s/ Amanda K. Klevorn
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 28           APPLICATION OF AMANDA K. KLEVORN FOR APPOINTMENT TO THE
             PLAINTIFFS’ EXECUTIVE COMMITTEE AND/OR THE FACT OR EXPERT
                                    SUBCOMMITTEE
